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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


 NETLIST, INC.,                                            Civil No. 2:22-cv-00293-JRG
                                                           (Lead Case)
                 Plaintiff,
                                                           JURY TRIAL DEMANDED
         v.

 SAMSUNG ELECTRONICS CO., LTD., et al.,

                 Defendants.


        SAMSUNG’S OBJECTIONS TO PRELIMINARY JURY INSTRUCTIONS

        Netlist’s opening demonstratives (provided to Samsung today) illustrate the need to tailor

the Court’s standard preliminary jury instructions in light of the unique posture of this case.

Specifically, Samsung respectfully submits that the preliminary jury instruction should: (1)

inform the jury that Samsung’s contention that the asserted claims of the patents-in-suit are

invalid over prior art is not a question for the jury to decide in this case; (2) inform the jury that

the JDLA is not evidence that Samsung ever needed a license to the Asserted Patents and the

jury may not rely the JDLA as evidence of any infringement of any Netlist patent; and (3) not

inform the jury that the claims of the ’912 and ’417 patent are presumed valid. As a result,

Samsung objects to the Court’s standard preliminary jury instructions. To avoid repeating the

rationale for the second and third objections, which Samsung has previously provided the Court,1

this brief addresses only the first objection in detail.




  1
    See Dkt. 778, Ex. A at 17-18, (JDLA), 13-14, 20 (presumption of validity); see also Dkt. 818
at 7 (“The Court further clarified that Plaintiff shall not argue or imply that Defendants infringe
because Defendants were previously licensed and now are not licensed.”).


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I.     The Court Should Instruct the Jury That Invalidity Under Sections 102 and 103 Are
       Not Issues Before the Jury

       The unique circumstances of this case warrant a jury instruction that explains that the jury

is not being asked to decide the issue of invalidity under 35 U.S.C. §§ 102 and 103, yet the jury

should not assume that no such challenge has been made. Samsung has stipulated that, “if the

Patent Trial and Appeal Board [“PTAB”] institutes an IPR proceeding for [the patents-in-suit] on

the grounds presented in Samsung’s petition[s] [for each of those patents], Samsung will not

pursue an invalidity defense in the Eastern District of Texas action (C.A. No. 22-293-JRG) that

the patent claims subject to the instituted IPR are invalid based on grounds that were raised or

reasonably could have been raised in the IPR.” Dkt. 343, Ex. 1 (’608 patent); see also Exs. 1-2

(Sotera stipulations for the ’912 and ’417 patents).

       Not only did the PTAB institute IPRs for all three patents-in-suit, the PTAB has issued

final written decisions finding the asserted claims of the ’912 and ’417 patent unpatentable over

prior art Samsung raised in its IPR petitions. Dkt. 735, Ex. 11 (’912 patent FWD); Dkt. 735, Ex.

12 (’417 patent FWD). As a result, Samsung’s trial presentation will not include invalidity under

Sections 102 and/or 103. Dkt. 817; Dkt. 821, Ex. 1 at 2.

       Given the current status of Netlist’s patents, it would be manifestly unjust for Netlist to

argue, imply, or insinuate that Samsung “has no evidence” or “does not contend” that the

patents-in-suit are invalid over prior art—particularly given the PTAB’s final decisions finding

the asserted claims of the ’912 and ’417 patents unpatentable. Samsung’s stipulation not to raise

the prior art-based ground that it presented in its IPR petitions is equitable only if the jury will

not be misled (by Netlist) into thinking that Samsung has no legitimate prior art-based invalidity

defenses. The policy behind the Sotera stipulation—to avoid having both the PTAB and the

district court/jury address the same invalidity theories—does not contemplate that the stipulation



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would be used to buttress a patentee’s damages demand. See Sotera Wireless, Inc. v. Masimo

Corp., IPR2020-01019, Paper 12 at 18-19 (PTAB Dec. 1, 2020); Pat. & Trademark Office,

Memorandum: Interim Procedure for Discretionary Denials in AIA Post-Grant Proceedings with

Parallel District Court Litigation, at 7 (June 21, 220),

https://www.uspto.gov/sites/default/files/documents/interim_proc_discretionary_denials_aia_par

allel_district_court_litigation_memo_20220621_.pdf (“When a petitioner stipulates not to pursue

in a parallel district court proceeding the same grounds as in the petition or any grounds that

could have reasonably been raised in the petition, it mitigates concerns of potentially conflicting

decisions and duplicative efforts between the district court and the PTAB.” (citing Sotera, Paper

12 at 18-19)).

       In the EDTX1 trial, where Samsung made similar Sotera stipulations, Netlist’s counsel

repeatedly argued to the jury that Samsung had no prior art-based invalidity theories as a way to

encourage the jury to accept Netlist’s wildly inflated damages demand. See, e.g., Dkt. 488 at

202:14-16 (“Do you expect to hear Samsung make arguments about these two patents being

invalid at this trial? No, I do not.”); Dkt. 492 at 120:10-13 (“In your testimony today, you have

not identified a single reference or design anywhere in the world that anticipates or renders

obvious the ’918 and ’054 Patents. Correct?”).

       Indeed, Netlist’s opening slides in this case state: “Samsung expert in this case will not

dispute: All three Netlist patents are novel [and] All three Netlist patents are not-obvious.”

PD1.61 (Netlist opening demonstrative) (original emphasis, paragraphing omitted, emphasis

added). Samsung maintains that such arguments should open the door for Samsung to inform the

jury of the PTAB proceedings for the patents-in-suit, including the PTAB’s decisions finding the

asserted claims of the ’912 and ’417 patent invalid. However, at a minimum, the jury should not




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be misled by Netlist into thinking that Samsung and its expert have no opinion or evidence that

the asserted claims are invalid.

       Netlist’s “they admit validity” approach is particularly prejudicial for Samsung’s

willfulness defense. Samsung diligently pursued IPR of the patents-in-suit, and these efforts

have validated that pursuit. Samsung justifiably believes that it is not infringing valid patents

based, in part, on the progress of the IPR proceedings. Samsung also respects the Court’s

standing MIL No. 6. An equitable middle ground is to preclude Netlist from commenting on the

absence of a prior art validity challenge and simply inform the jury that these issues are to be

decided by others.

II.    Proposed Instruction

       Accordingly, Samsung respectfully asks the Court to provide the following instruction in

its preliminary jury instructions:

               The Samsung Defendants deny that they are infringing any of the asserted
       claims of the patents-in-suit. They also deny that any infringement has been
       willful. And they contend that the asserted claims of the patents-in-suit are
       invalid because the patents’ specifications do not contain a sufficient written
       description of the invention. In addition, whether any of the asserted patents are
       invalid over prior art is not a question for you to decide in this case and you
       should draw no inference from the fact that you are not being asked to decide this
       issue.




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Dated: November 11, 2024                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on November 11, 2024. As of this date, all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                    /s/ Lauren A. Degnan




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